JS 44 (Rev. 04/21)               Case 5:24-cv-00717-OLG
                                                    CIVILDocument
                                                          COVER 1-2  Filed 06/27/24 Page 1 of 2
                                                                  SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                         DEFENDANTS
                                                                                                          Stephen Findeisen and Coffee Break Productions LLC d/b/a
         Logan Paul
                                                                                                          Coffeezilla
   (b) County of Residence of First Listed Plaintiff           Dorado, Puerto Rico                        County of Residence of First Listed Defendant Kendall, Texas
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                          NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                     THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                Attorneys (If Known)

         See Attachment 1.

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                   and One Box for Defendant)
□ 1 U.S. Government                □ 3 Federal Question                                                                         PTF       DEF                                         PTF      DEF
         Plaintiff                         (U.S. Government Not a Party)                         Citizen of This State         □1         □
                                                                                                                                          ✖ 1      Incorporated or Principal Place     □ 4 □4
                                                                                                                                                     of Business In This State

□2     U.S. Government             □
                                   ✖ 4   Diversity                                               Citizen of Another State          □
                                                                                                                                   ✖ 2    □ 2      Incorporated and Principal Place       □ 5     □5
         Defendant                         (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                 Citizen or Subject of a           □3     □ 3 Foreign Nation                              □ 6     □6
                                                                                                   Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                    Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                             TORTS                               FORFEITURE/PENALTY                       BANKRUPTCY                      OTHER STATUTES
  110 Insurance                    PERSONAL INJURY               PERSONAL INJURY                    625 Drug Related Seizure             422 Appeal 28 USC 158            375 False Claims Act
  120 Marine                       310 Airplane               □ 365 Personal Injury -                   of Property 21 USC 881           423 Withdrawal                   376 Qui Tam (31 USC
  130 Miller Act                   315 Airplane Product             Product Liability               690 Other                                28 USC 157                       3729(a))
  140 Negotiable Instrument             Liability             □ 367 Health Care/                                                           INTELLECTUAL                   400 State Reapportionment
  150 Recovery of Overpayment      320 Assault, Libel &             Pharmaceutical                                                       PROPERTY RIGHTS                  410 Antitrust
      & Enforcement of Judgment         Slander                     Personal Injury                                                      820 Copyrights                   430 Banks and Banking
  151 Medicare Act                 330 Federal Employers’           Product Liability                                                    830 Patent                       450 Commerce
  152 Recovery of Defaulted             Liability             □ 368 Asbestos Personal                                                    835 Patent - Abbreviated         460 Deportation
       Student Loans               340 Marine                       Injury Product                                                           New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)         345 Marine Product               Liability                                                            840 Trademark                        Corrupt Organizations
□ 153 Recovery of Overpayment           Liability              PERSONAL PROPERTY                             LABOR                       880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits        350 Motor Vehicle            370 Other Fraud                     710 Fair Labor Standards                                                  (15 USC 1681 or 1692)
□ 160 Stockholders’ Suits
□ 190 Other Contract
                                   355 Motor Vehicle
                                       Product Liability
                                                                 B
                                                                371 Truth in Lending
                                                              □ 380 Other Personal
                                                                                                        Act
                                                                                                    720 Labor/Management
                                                                                                                                             Act of 2016

                                                                                                                                         SOCIAL SECURITY
                                                                                                                                                                          485 Telephone Consumer
                                                                                                                                                                              Protection Act
  195 Contract Product Liability ✖ 360 Other Personal               Property Damage                     Relations                        861 HIA (1395ff)                 490 Cable/Sat TV
B 196 Franchise                        Injury
                                   362 Personal Injury -
                                                              □ 385 Property Damage
                                                                    Product Liability
                                                                                                    740 Railway Labor Act
                                                                                                    751 Family and Medical
                                                                                                                                         862 Black Lung (923)
                                                                                                                                         863 DIWC/DIWW (405(g))
                                                                                                                                                                          850 Securities/Commodities/
                                                                                                                                                                              Exchange
                                       Medical Malpractice                                              Leave Act                        864 SSID Title XVI               890 Other Statutory Actions
      REAL PROPERTY                  CIVIL RIGHTS              PRISONER PETITIONS                   790 Other Labor Litigation           865 RSI (405(g))                 891 Agricultural Acts
  210 Land Condemnation            440 Other Civil Rights       Habeas Corpus:                      791 Employee Retirement                                               893 Environmental Matters
  220 Foreclosure                  441 Voting                   463 Alien Detainee                      Income Security Act              FEDERAL TAX SUITS                895 Freedom of Information
  230 Rent Lease & Ejectment       442 Employment               510 Motions to Vacate                                                    870 Taxes (U.S. Plaintiff            Act
  240 Torts to Land                443 Housing/                     Sentence                                                                  or Defendant)               896 Arbitration
  245 Tort Product Liability           Accommodations           530 General                                                              871 IRS—Third Party              899 Administrative Procedure
  290 All Other Real Property      445 Amer. w/Disabilities -   535 Death Penalty                       IMMIGRATION                           26 USC 7609                     Act/Review or Appeal of
                                       Employment               Other:                              462 Naturalization Application                                            Agency Decision
                                   446 Amer. w/Disabilities -   540 Mandamus & Other                465 Other Immigration                                                 950 Constitutionality of
                                       Other                    550 Civil Rights                        Actions                                                               State Statutes
                                   448 Education                555 Prison Condition
                                                                560 Civil Detainee -
                                                                    Conditions of
                                                                    Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖ 1
□
       Original
                         □
                             2 Removed from
                                                     □
                                                          3     Remanded from
                                                                                           □
                                                                                               4 Reinstated or
                                                                                                                   □
                                                                                                                           5 Transferred from    6 Multidistrict
                                                                                                                                                  □                            □
                                                                                                                                                                                      8 Multidistrict
       Proceeding              State Court                      Appellate Court                  Reopened                    Another District        Litigation -                       Litigation -
                                                                                                                             (specify)               Transfer                           Direct File
                                      Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                      28 U.S.C. § 1332
VI. CAUSE OF ACTION Brief description of cause:
                                      Lawsuit for Libel Per Se Against Defendants.
VII. REQUESTED IN                         CHECK IF THIS IS A CLASS ACTION                           DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                           UNDER RULE 23, F.R.Cv.P.                                  $76,000                                     JURY DEMAND:               □
                                                                                                                                                                           ✖ Yes          □ No
VIII. RELATED CASE(S)
                                         (See instructions):
      IF ANY                                                     JUDGE                                                                   DOCKET NUMBER
DATE                                                               SIGNATURE OF ATTORNEY OF RECORD
Jun 27, 2024                                                       /s/ Shelby O'Brien
FOR OFFICE USE ONLY

   RECEIPT #                   AMOUNT                                   APPLYING IFP                                       JUDGE                           MAG. JUDGE
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                                      Attachment 1

                                   Plaintiff’s Attorneys

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